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 3   Telephone: (916) 622-1704
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 5   Attorney for Defendant
     DAWN POWERS
 6
 7                            IN THE UNITED STATES DISTRICT COURT
 8                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                    )
                                                  )       Cr. No. S-12-00315 JAM
11                         Plaintiff,             )
                                                  )       STIPULATION AND
12                                                )       ORDER CONTINUING STATUS
                   v.                             )       CONFERENCE; FINDING OF
13                                                )       EXCLUDABLE TIME
                                                  )
14   LEE LOOMIS, et al.,                          )       Date: January 8, 2013
                                                  )       Time: 9:45 a.m.
15                         Defendants.            )       Judge: Hon. John A. Mendez
                                                  )
16
17
                                             STIPULATION
18
            Plaintiff, United States of America, through Assistant U.S. Attorney Paul Hemesath;
19
     defendant Lee Loomis, through counsel Douglas Beevers; defendant Michael Llamas, through
20
     counsel Thomas A. Johnson; defendant John Hagener, through counsel William Portanova;
21
     defendant Joseph A. Gekko, through counsel Michael Bigelow; and, defendant Dawn Powers,
22
     through counsel Christopher Haydn-Myer, hereby stipulate and agree as follows:
23
            1. A status conference is currently set for January 8, 2013 at 9:45 a.m.
24
            2. By this stipulation, the above-named defendants now move to continue the status
25
     conference to February 12, 2013 at 9:45 a.m., and to exclude time between January 8, 2013 and
26
     February 12, 2013 under Local Codes T2 and T4. Plaintiff does not oppose this request.
27
            3. The basis upon which the parties agree to this proposed continuance of the status
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 1   conference is as follows:
 2          a.      The case involves a 50 Count fraud indictment, involving a complicated scheme
 3                  spanning a number of years. According to the indictment, several defendants set
 4                  up a Ponzi scheme that contributed to a fund known as the Naras Fund. The
 5                  indictment alleges that this fund was used in a complex scheme in which Loomis
 6                  Wealth Solutions (LWS) defrauded the secondary loan market.
 7
 8                  The indictment charges that the defendants participated in a scheme in which
 9                  LWS employees would approach contractors and developers to obtain properties
10                  at below market value, and then sell the properties to “nominee buyers” at full
11                  price. The indictment alleges that the money saved in those transactions – the
12                  difference between the discounted price and the full market value at which the
13                  property was immediately sold - was used to cover the cost of the down payment,
14                  deceiving the secondary loan market into believing that the “nominee buyers” had
15                  paid the money. Therefore they were led to believe that they had a greater
16                  financial stake in the properties. The allege loss to the secondary loan market is at
17                  $10,000,000 dollars.
18
19                  Discovery obtained by the government during its investigation, execution of
20                  search warrants and agent generated reports, is approximately 200 banker’s boxes
21                  of documents. Criminal Justice Act (“CJA”) counsel have been in discussions
22                  with Government counsel in this matter and the Government has agreed to make
23                  available to the defense for duplication all documents and related items obtained
24                  by them.
25
26          b.      Counsel for each defendant believes that failure to grant the above-requested
27                  continuance would deny their respective client the reasonable time necessary for
28                  effective preparation, taking into account the exercise of due diligence.

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 1          c.      The discovery in this case and the facts of the alleged conspiracy are “complex”
 2                  within the meaning of 18 U.S.C. § 3161(h)(7)(b)(ii), [Local Code T2]. The
 3                  parties request the Court find this case to be “complex” and exclude time pursuant
 4                  to Local Code T2.
 5          d.      Plaintiff does not object to the continuance.
 6          e.      Based on the above-stated findings, the ends of justice served by continuing the
 7                  status conference as requested outweigh the best interest of the public and the
 8                  defendants in a trial within the original date prescribed by the Speedy Trial Act.
 9          f.      For the purpose of computing time under the Speedy Trial Act, 16 U.S.C. § 3161,
10                  et seq., within which trial must commence, the time period from January 8, 2013
11                  to February 12, 2013, inclusive, is deemed excludable pursuant to 18 U.S.C. §
12                  3161(h)(7)(a), B(ii) and (iv) [Local Code T2 and T4] because it results from a
13                  continuance by the Court at the defendants request on the basis of the Court’s
14                  finding that the ends of justice served by taking such action outweigh the best
15                  interest of the public and the defendants in a speedy trial.
16          4. Nothing in this stipulation and order shall preclude a finding that other provisions of
17   the Speedy Trial Act dictate that additional time periods are excludable from the period within
18   which a trial must commence.
19          5. Finally, Christopher Haydn-Myer has been authorized by all counsel to sign this
20   stipulation on their behalf.
21
22   IT IS SO STIPULATED.
23   DATED: January 6, 2013                BENJAMIN B. WAGNER
                                           United States Attorney
24
                                           /s/ Paul Hemesath
25                                         PAUL HEMESATH
                                           Assistant United States Attorney
26                                         Attorney for Plaintiff United States
27   DATED: January 6, 2013                JOSEPH SCHLESINGER
                                           Acting Federal Defender
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 1                                  /s/ Douglas Beevers
                                    DOUGLAS BEEVERS
 2                                  Assistant Federal Defender
                                    Attorney for Defendant Lee Loomis
 3
     DATED: January 6, 2013         LAW OFFICES OF THOMAS A. JOHNSON
 4
                                    /s/ Thomas A. Johnson
 5                                  THOMAS A. JOHNSON
                                    Attorney for Defendant Michael Llamas
 6
     DATED: January 6, 2013         LAW OFFICES OF WILLIAM PORTANOVA
 7
                                    /s/ William Portanova
 8                                  WILLIAM PORTANOVA
                                    Attorney for Defendant John Hagener
 9
     DATED: January 6, 2013         LAW OFFICES OF MICHAEL BIGELOW
10
                                    /s/ Michael Bigelow
11                                  MICHAEL BIGELOW
                                    Attorney for Defendant Joseph A. Gekko
12
     DATED: January 6, 2013         LAW OFFICES OF CHRISTOPHER HAYDN-MYER
13
                                    /s/ Christopher Haydn-Myer
14                                  CHRISTOPHER HAYDN-MYER
                                    Attorney for Defendant Dawn Powers
15
16
                                          ORDER
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           IT IS SO FOUND AND ORDERED this 7th day of January, 2013.
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20
                                           /s/ John A. Mendez
21                                         JOHN A. MENDEZ
                                           UNITED STATES DISTRICT COURT JUDGE
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